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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. lO-CIV-80047-MARRA/JOHNSON

METROPGLITAN LlFE
INSURANCE COMPANY,

Plaintiff,
v.
ROGER FOLEY,

Defendant.
/

NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41, Federal Rules Of Civil Procedure, and by Agreernent between the
parties, Plaintiff, Metropolitan Life lnsurance Conipany, hereby disniisses, with prejudice, the
above~styled lawsuit in its entirety, with each party to bear its own attorneys’ fees and costs.

Dated, this _6th_ day Of April, 201().

Respectfully submitted,

SHUTTS & BOWEN LLP
Attorneyfor Plaintl`jf MetLl`fe
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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on AQril 6 2010 , 1 electronically filed the foregoing

 

document with the Clerk of the Court using CM/'ECF. 1 also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified on the attached
Service List in the manner specified, either via transmission of Notices of Electronic Filing
generated by Cl\/I/ECF or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Electronic Filing.

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SERVICE LIST

Metropolitan Life lnsurance Company v. Roger Foley
Case No. 10-CIV-80047-MARRA/JOHNSON
United States District Court, Southern District of Florida

Roger P. Foley, Esq.

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